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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION
GENERAL ACCESS SOLUTIONS, LTD., §
                                          §
             Plaintiff, §
                                          §
v. § CIVIL ACTION NO. 2:22-CV-00394-JRG
                                          §
CELLCO PARTNERSHIP D/B/A §
VERIZON WIRELESS et al., §
                                          §
             Defendants. §
                                          §
ERICSSON, INC., §
                                          §
             Intervenor-Defendant. §




                               VERDICT FORM

      In answering the following questions and completing this Verdict Form, you

are to follow all the instructions that I have given you in the Court s Final Jury

Instructions. Your answers to each question must be unanimous. Some of the

questions contain legal terms that are defined and explained in detail in the Final

Jury Instructions. You should refer to and consider the Final Jury Instructions as

you answer the questions in this Verdict Form.
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As used herein, the following terms have the following meanings:


• Plaintiff, “GAS, or “General Access refers to General Access Solutions, Ltd.


• “Verizon” or “Defendant collectively refers to Cellco Partnership d/b/a Verizon

   Wireless, Verizon Services Corp., Verizon Business, Global LLC, Verizon

   Business Network Services LLC, Verizon Corporate Services Group Inc.,

   Verizon Data Services LLC, and Verizon Online LLC.

• The “ 931 Patent” refers to U.S. Patent No. 7,230,931.


• The “ 794 Patent refers to U.S. Patent No. 9,426,794.


• The “Asserted Patents collectively refers to the ’931 Patent and the ’794 Patent.


• The “Asserted Claims collectively refers to claims 28 and 29 of the ’931 Patent

   and claims 1, 2, and 5 of the ’794 Patent.




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          IT IS VERY IMPORTANT THAT YOU FOLLOW THE
         INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




         READ THEM CAREFULLY AND ENSURE THAT YOUR
                VERDICT COMPLIES WITH THEM




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                              QUESTION NO. 1

      Did Plaintiff General Access prove by a preponderance of the evidence that

Verizon infringed ANY of the Asserted Claims of the following patents?

      Answer Yes or “No for EACH Asserted Patent listed below.




       931 Patent                                      No

      794 Patent               Yes                     No




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                                 QUESTION NO. 2

      Did Verizon prove by clear and convincing evidence that the Asserted Claims

of the Asserted Patents are invalid due to lack of written description and/or that they

are not fully enabled?

             For each Asserted Patent below, please answer Yes or “No.

Claims 28 and 29 of the 931 Patent Yes No

Claims 1, 2, and 5 of the 794 Patent Yes No




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Answer Question No. 3A ONLY as to the 931 Patent if you have found it to
be BOTH infringed and not invalid i.e., ONLY if you answered YES in
Question No. 1 AND NO in Question No. 2 for the ’931 Patent.



                              QUESTION NO. 3A

      What sum of money, if paid now in cash as a reasonable royalty, has General

Access proven by a preponderance of the evidence would compensate General

Access for its damages from Verizon s infringement of the ’931 Patent?




      Answer in United States Dollars and Cents, if any:

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Answer Question No. 3B ONLY as to the 794 Patent if you have found it to be
BOTH infringed and not invalid i.e. ONLY if you answered YES in
Question No. 1 AND “NO” in Question No. 2 for the 794 Patent.



                              QUESTION NO. 3B

      What sum of money, if paid now in cash as a reasonable royalty, has General

Access proven by a preponderance of the evidence would compensate General

Access for Verizon s infringement of the ’794 Patent?




      Answer in United States Dollars and Cents, if any:




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                FINAL PAGE OF THE JURY VERDICT FORM

       You have now reached the end of the Verdict Form and should review it to

ensure it accurately reflects your unanimous determinations. The Jury Foreperson

should then sign and date the Verdict Form in the spaces below. Once this is done,

notify the Court Security Officer that you have reached a verdict.      The Jury

Foreperson should keep the Verdict Form and bring it when the jury is brought back

to the court room.



      I certify that the jury unanimously concurs in every element of the above

verdict.



Signed this   cl-i ?�ay of   �                    , 2024.



                                     Jury Foreperson:




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